Case 6:08-cr-00025-MHS-JDL           Document 196        Filed 12/16/10     Page 1 of 1 PageID #:
                                             303



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 V.                                             §            CRIMINAL NO. 6:08CR25-003
                                                §
 LESLI NICOLE TEEMS                             §

                                             ORDER

        The above entitled and numbered criminal action was referred to United States Magistrate

 Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report of the Magistrate Judge, which

 contains his proposed findings of fact and recommendations for the disposition of such action, has
     .
 been presented for consideration. The parties waived objections to the Report and

 Recommendations.

        The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

 correct. Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as the

 findings and conclusions of this Court.


        SIGNED this 16th day of December, 2010.




                                                          ____________________________________
                                                          MICHAEL H. SCHNEIDER
                                                          UNITED STATES DISTRICT JUDGE
